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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------x
UNITED STATES OF AMERICA           :
                                   :
                                   :                    20-cr-188-1 (JSR)
          -v-                      :
                                   :                    OPINION AND ORDER
RUBEN WEIGAND,                     :
                                   :
     Defendant.                    :
                                   :
-----------------------------------x

JED S. RAKOFF, U.S.D.J.

     Defendant Ruben Weigand moves for reconsideration of the

Court’s denial of bail pending trial.

     The       Eighth    Amendment    to    the       United    States   Constitution

guarantees       reasonable      bail.          See    U.S.     Const.   amend.    VIII

(“Excessive bail shall not be required.”).                     To that end, Congress

has authorized courts to order that a defendant be detained pending

trial only where “no condition or combination of conditions will

reasonably assure the appearance of the person as required and the

safety    of    any     other   person     and    the    community.”       18     U.S.C.

§ 3142(e)(1).

     There is no allegation that Weigand is a danger to the

community.         However,     the    Government        argues,     and   the     Court

previously determined, that Weigand was a flight risk.                     Weigand is

a German national, and all agree that if he fled to Germany,

Germany    would      likely    not   extradite        him     without   his   consent.

Nonetheless, this would not be enough standing alone to show a


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risk of flight because Weigand’s only passport is in the custody

of the United States authorities.             However, Weigand also has

substantial wealth. With that wealth, and even without a passport,

if he were released on his own recognizance there is a substantial

risk that Weigand would flee.        Accordingly, the Court ordered that

Weigand be detained pending trial.         Mar. 17, 2020 Tr., ECF No. 23;

Order Denying First Reconsideration Mot., ECF No. 28 (Apr. 27,

2020).

     Now, however, the defendant has presented a comprehensive

bail package that, in the Court’s view, will reasonably assure his

appearance at trial. As described more fully below, Weigand offers

a $3 million bond, secured by $470,000 cash collateral provided by

friends and family and co-signed by seven individuals to the amount

of $1.15 million; 24/7 confinement in an apartment without visitors

(except when meeting with counsel or as approved by Pre-Trial

Services); 24/7 surveillance by armed security guards retained at

defendant’s expense but authorized by the Court to use reasonable

force to prevent flight; supervision and electronic monitoring, as

directed by Pre-Trial Services; and waivers of his rights to

challenge extradition and to seek additional travel documents.

The Court is convinced that this set of conditions will reasonably

assure his presence at trial, so the Court is statutorily obligated

to grant Weigand’s motion and to order that he be released.




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     The     Government,      in   addition    to   objecting   generally    to

Weigand’s release, objects to a principal component of the bail

package proposed by Weigand -- that he hire, at his own expense,

private armed security guards authorized by the Court to use

reasonable force to detain him and prevent his escape.                      The

Government cites United States v. Boustani, 932 F.3d 79 (2d Cir.

2019).     In Boustani, the Second Circuit held that the district

court did not clearly err in denying bail in a somewhat analogous

situation, reasoning that "[a] similarly situated defendant of

lesser means surely would be detained pending trial, and Boustani

is not permitted to avoid such a result by relying on his own

financial resources to pay for a private jail."             Id. at 83.      More

generally, the Second Circuit rejected what it called “a two-

tiered bail system,” id. at 82, finding that such a system would

violate a “fundamental principle of fairness,” id., that sounds in

equal protection.

     But equal protection works both ways.             If defendants are to

be treated similarly, without regard to wealth, then Weigand cannot

be   detained     when   an    otherwise      similarly   situated   indigent

defendant would be released.           To that end, the Second Circuit

recognized that a private security arrangement "may be appropriate

where the defendant is deemed to be a flight risk primarily because

of his wealth."      Boustani, 932 F.2d at 82; see also United States




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v.    Sabhnani,        493   F.3d     63   (2d       Cir.   2007)    (approving      such    an

arrangement).

        This is precisely such a case.                      The Government, and this

Court, have repeatedly emphasized Weigand’s wealth in explaining

the risk of flight.             Oct. 2, 2020 Tr. (to be docketed) (argument

of Government) (arguing that Weigand could flee using his wealth

and     comparing       him     to    Carlos         Ghosn);      Govt   Opp.   to     Second

Reconsideration Mot., ECF No. 99, at 2 (“The defendant appears to

have significant personal wealth.”); id. at 5 (“Weigand is a

wealthy German citizen.”); Order Denying First Reconsideration

Mot., ECF No. 28, at 4 (“[H]e has substantial personal wealth,

giving him the means and wherewithal to flee the jurisdiction in

spite      of    the    usual      obstacles         such    as     having   his     passport

confiscated or being electronically monitored.”); March 17, 2020

Tr., ECF No. 23, at 9 (argument of Government) (“[W]e're talking

about a group of people that have access, I think it is fair to

say, to substantial resources, many of which may be offshore.”);

id.   at    27    (order      of     Court)   (reasoning          that   Weigand     has    the

“wherewithal to flee” and comparing him to wealthy businessmen who

have done so).

        The Court concludes that if Weigand can use his resources to

ameliorate the risk of flight and reasonably assure his presence

at trial, then the fundamental fairness principle identified in

Boustani, as well as the Eighth Amendment and 18 U.S.C. § 3142(e),


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require his release.        And the Court concludes that Weigand’s

proposed bail package does so.

     Independently, under the unique circumstances of the COVID-19

pandemic, Weigand must be released to permit him to adequately

prepare for trial.    Under 18 U.S.C. § 3142(i), a court may order

the “temporary   release”    of   a   defendant   “to   the   extent   that

the judicial officer determines such release to be necessary for

preparation of the person’s defense or for another compelling

reason.”   This is a complex, document-heavy white-collar case.

Although, despite the pandemic, federal jails in this district now

permit some in-person attorney visits, if the defendant were housed

in such a facility this unusually complex case would present that

facility with significant challenges leading up to trial and it

seems almost certain that the facility would not be able to provide

the kind of full access needed here for proper preparation.

     The jury trial in this case has been firmly set for December

1, 2020.   The Court is committed to proceeding on that date.           The

logistical challenges of arranging a new trial date under present

circumstances would be extraordinary and the ensuing delays could

jeopardize the defendants’ speedy trial rights.

     For these reasons, the Court grants Weigand’s motion and

orders his release pending trial in accordance with the schedule

set forth below and with the following conditions:




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1. Weigand will sign a $3 million personal recognizance bond,

  secured by $470,000 in cash collateral provided by Weigand’s

  close friends and family, and seven financially responsible

  co-signers who shall sign the bond to the extent of $1.15

  million.     The defense shall promptly identify the seven

  financially responsible co-signers to the Government; but

  regardless of whether the Government finds them satisfactory,

  that will not delay defendant’s release.              However, if the

  Government finds that the co-signers are unsatisfactory to

  the Government, then the Government can apply to the Court

  for further action, even including remand.

2. Weigand must be released from the facility where he is

  currently housed in Santa Ana, California, by no later than

  Friday, October 9.            If the Government can promptly make

  arrangements,     Weigand        will   then    be   transported      from

  California to New York by plane under the supervision of the

  U.S.    Marshals,        no     later   than    Friday,     October    9.

  Alternatively,      at    the    Government’s    election   or   if   the

  Government is unable to transport Weigand to New York by

  plane no later than Friday, October 9, then Weigand will be

  released to the custody of the retained private security

  guards and transported from California to New York by plane

  under the supervision of said guards, at his own expense, by

  no later than Friday, October 9.


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3. Immediately upon Weigand’s arrival in New York, he shall be

   escorted by the Marshals or by his private security guards

   to an apartment in Manhattan rented at his expense, the

   location of which shall be furnished beforehand to Pre-Trial

   Services and the Government.       He shall remain there at all

   times of day and night but may leave to meet his counsel at

   their New York office under the supervision of armed security

   guards. Any other exceptions must be expressly authorized by

   Pre-Trial Services or this Court, in writing, in advance.

4. Weigand’s detention in the rented apartment will be secured

   at all times by on-premises armed security guards, paid for

   by Weigand.

5. Weigand will give his express consent in writing to the use

   of reasonable force by the armed security guards to thwart

   any attempt to flee or to leave his apartment for any reason

   not authorized by this Order, Pre-Trial Services, or the

   Court.   In addition, the Court hereby authorizes such use of

   force.

6. With   the   exception   of   Weigand’s   counsel,    who   will   be

   permitted to visit Weigand freely, any visitors for Weigand

   will require express pre-approval in writing by Pre-Trial

   Services.

7. Weigand will be subject to strict supervision and electronic

   GPS monitoring, as directed by Pre-Trial Services.


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    8. Weigand will execute a waiver of his right to challenge

      extradition from both Germany and Luxembourg.1

    9. Santa Ana Jail is directed to release Weigand from its

      custody into the custody of the U.S. Marshals Service no

      later than Friday, October 9.          If the U.S. Marshals Service

      will be unable to transport Weigand to New York by plane by

      October 9, then the U.S. Marshals Service shall so notify

      the Santa Ana Jail, which shall release Weigand into the

      custody of the private security guards described above no

      later than Friday, October 9.             The Government is hereby

      ordered     to   take   all   necessary   steps   to   effectuate   this

      release and transfer.

      SO ORDERED.

Dated:       New York, NY                        _______________________
             October 5, 2020                     JED S. RAKOFF, U.S.D.J.




1 The defense has represented that Weigand’s German passport, his
only travel document, is in the possession of U.S. authorities.
The German Missions in the United States have agreed not to issue
Weigand a new passport pending trial. Weigand has also executed
and delivered to the German Consulate a declaration confirming
that he will not apply for a passport if he is released on bail.
See ECF No. 98-1, at 6.

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